                                                                                                  ,, '
                 Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 1 of 9                                                    FILED
                                                                                                                             2019 Jul-29 PM 04:15
                                                                                                                            U.S. DISTRICT COURT
                                                                                                                                N.D. OF ALABAMA




                   IN THE UNITED STATES DISTRICT COURT                                              Ff!      !'.'.:' !""\
                  FOR THE NORTHERN DISTRICT OF ALABAMA                                                   ' - •. , ,


                                                                                                                  ..




                                                                   NOTICE TO FILING PARTY'· .             .   '   .,   '



                                                                   It is your responsibility to
                                                                 notify the clerk in writing of any
                                                                         address change.

(Enter above the fu!(name of the plaintiff                        Failure to noti.fj, the clerk may
in this action)                                                   result in dismiss,z/ ofyour case
                                                                      without further notice.




I.     Previous lawsuits

       .ti.,.,     Have you begun other lawsuits in state or federal court(s) dealing ,vith the
                   same facts involved in this action o ~ i s e relating to your imprisonment?
                   Yes (      )          No ( ~

       B.          If the answer to (A) is "yes," describe each lawsuit in the space below. (!fl here is more
                   than one lawsuit, describe the additional lawsuit(s) on another piece of paper, using the
                   same outline.)

                   I.     Parties to this previous lawsuit:     r/k
                          Plaintiff:                          Ai;ff
                           Defendant(s):   ---~~"-ht=~--------
                                                         2
                                                                                                                                  1,,1




           Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 2 of 9




                 2.          Court (if Federal Court, name the district; if State Court, name the county)



                 3.          Docket number - - - - - - - - - - - - - - : - - - - - - - - -

                 4.          Name of judge to whom case was assigned _ _;J_+/j_,4,
                                                                                _________
                                                                                                              I

                 5.          Disposition (for example: Was the case dismissed? Was it appealed? Is it still
                             pending?)



                 6.          Approximate date of filing lawsuit - - - - - - - - - - - - - - - -



                 7.          Approximate date of disposition _ ___c_J~_-+t-'-1(.i._____________
                                                                       I
II.                                                                                                                           ~?ac..6.~=i.c..b
      Place of present confinement --"L=-'-1M.,66"--=-'=-=lo'""'-'.!..:,Jc...e=-_,_{;g=.oe.,.aes..c",(;"-i"'(-"'o:.C,/~tJ_,_!_'             ~=....-


      A.         Is there a prisoner grievance procedure in this institution?
                 Yes (       )           No ( j,}-----

      B.         Did you present the facts relating to your complaint in the state prisoner grievance
                 procedure?             Yes ( )                No ( ~ -

      C.         If your answer is YES:

                  I.         What steps did you take?                  ------11'-'J-1-/,..,fr____________

                  2.          What was the result? _ _ _ _.,_/V_,c.....cft_·
                                                                         _ _ _ _ _ _ _ _ _ _ _ _ __



      D.         If your answer is NO, explain why not:                               ft[)OC                 {Ioe5                ;.!o/
                                           a {jfll-6 V'<Z.Jc:P 0p)erru



                                                                            3
                                                                                          1,.1




            Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 3 of 9




III.   Parties.
       In item (A) below, place your name in the first blank and place your present address in the
       second blank.

       A.         NameofPlaintiff(s)   '-T;ittv;..S    bt=Yfff.6
                                                             'l f     ..yc}/;;2     0


                       L1//1-ehto,,u,       C!o@d;'"';:14./ ~


       In item (B) below, place the full name of the defendant in the first blank, his official position in
       the second blank, and his place of employment in the third blank. Use Iten, (C) for the names,
       positions, and places of employment of any additional defendants.

       B.         Defendant   Je~Mi <:/)e/~                            7
                              ~f!(2L..C,/;o,J4/ @a~
                  Is employed as

                  at   L11e<2b--0 cPt2e.d!-boJr1/ (32...t.k
       C.         Additional Defendants - - - - - - - - ~ - ~ - - - - - - - - - - - -
                                           \.5$ !!4cl(M,µi

IV.    Statement of Claim

       State here, as briefly as possible, the FACTS of your case. Describe how each defendant is
       involved. Include also the names of other persons involved, dates and places. Do not ~ive anv
       legal arguments or cite any cases or statues. lfyou intend to allege a number of related claims,
       number and set forth each claim in a separate paragraph. Use as much space as you need. Attach
       extra sheets, if necessary.




                                                      4
                                                                                      ,. '
         Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 4 of 9




V.   RELIEF

     State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no
     cases or statues.




     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on




                                            AIS#     ~/c2,f0<£
       Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 5 of 9




      IN THE UNITED STATES DISTRICT COURT FOR THE N~,~~ERtt- ;")
                   DISTRICT OF ALABAMA             ·   :_ t •• :,



TRAVIS GRIGGS,
      Plaintiff,


vs.                                              CASE NO: _ _ _ _ - - - - - -



JEREMY PELZEB.                                   JURY TRIAL IS DEMANDED.
DUSTIN WARD
JERMAINE BATES
JEREMY BELLMON
MIKE JONES
      Defendants,



                        CIVIL RIGHTS ACTION PURSUANT
                        TO 42 USC SECTION 1983

      '(his   1.r,   a Civil Rights Action tiled by Tr;~vi:> ·: i·i8,gs, a Stdte



alleging excessive use;         ot fore.:,   ,met f:iilure to prot,,.,ct in viol.atLon

of tne C:ighth AmewJ,ns'nt to t:1e !Jni ten °,tates Cor:st.i: .1tio1,. 'U1e Plaint it r.

al :;o .:1lleges tt1e ']'octs ot Assault iln::..'. Eattery.
  0




                                 JURISDICTION
      The Court has Ju,·isdiotion ovec t,1e Plaintiff':, clah1s of viol.ation

ot r'edecal Co,1stitutional Kignts undec 1..2 USC Se,~ti, ,s LL-1(1) and 1343.


                                             ( 1) .
      Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 6 of 9


                             PARTIES

(1). The Plaintiti. Tn,vis Griggs, a State Prisoner ,as incarc"cated

     at Limestone Correctional Center at all tir.1es ,L,,-ing the events

     described in this complaint.

(2). Defendant Jeremy FelzeR is a Correctionat Ser::;·:· ,nt em~>loyed at

     Limestone Correctional Center. ile is being sue•I in his individual

     capacity.
(3). Defenaants Dustin kard, Jermaine Bates, Jeremy iellmon and Micheal

     Jones are Correctional Officer employed at Limv, .:u:!cc' ,:orrectional
     Center. They are being sued in their indivi,lual capacity.

(4). All Defendants have acted and contin11e tu act            rder color of State

     Law at all   t irne,, relevant to this complaL1t.


                               FACTS
(5). On May 6, 2019, Plaintiff was attencing a DiscL linary He,:;ring
     in C Dorm interview coon,, being conductect by~~· cing Olticer

     Micheal Jones and charging Officer Jeremy ~elze£.

(6). During tne Hearing, Plaintiff was in handcuff~. sitting in a chaic
     approximate! y G feet from both Defcnc1ants Lich,•: L Jones mid Jere,r,y

     !c'elze,:, who were seat,cd behino a   table. Oefen,,,,, ts Jeremy llel.lmon,

     Dustin ~iard and Jermi'line tates were standing     01,    botn sides of me.


                             MISUSE OF FORCE

(7). As I was sitting in the chair, listening to Det, nciant Jeremy Pelzell

     give false testimony, I he.Jd up my hanocuf[ed :•.>nds and staterJ,

       \'11y You Sitting Tnere Lyi,1g?" you just mad ill        t.ht· world cause

     your arm» art2 shorter- tnan evc,cvDociy elses " ( :m insult dicected

     at Defe11dant Pelze~' s µhysical deformity ) .


                                 ( 2) •
      Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 7 of 9



(8). Defendant PelzeR became visibly angry, jumped ,,.,, of his chair,
     puller'. out his ,r.ace, ,;,;·ayed me in the face' an,::   1eck area, then

     ch2rged across the room, grahbec ne by t:1e shict., pulled me out

     of my chair and slammed me to the floor.



                         FAILURE TO PROTECT

(Y). During tl1ese events, Defendants i,,aru, hates, f,·ilmon and Jones
     di,1 not intervene to prevE,nt nor protect Plaint lff fro.,1 the assault

     :-iy Defencant PelzeR.

(10). During t;,e events tne Plaintiff did not pose,, physical threat

      to ,my of the Officers at any time.

(11). After the above described assault, Plal.ntiff ,,as escorted to the
      Healtn Care Unit hv Defenoants Vard, Lat es ,,n:., tlel I uon. where he

      was detoxed from the mace and given a boay ch~,t to document tne

      assault.


                           ABUSE OF PROCESS

(12). \,;hile l•laintiff was receiving medical attenti.u, Defendant Pelze4t.

      created a false narrative to cover u1, his unau,horize use of
      force and used it to lodge a bogus disciplinar, against Plaintiff

      for assault on a 1•erson associated with ADDC.


                              CLAIMS FOR RELIEF

(13). The actions o[ Defendant Pelzee, in using ph,, .cal force against

      Plaintiff without need or physical threat 1,er·_ done maliciously

      anu saoistically, which constitdted cruel anc, .musual punisrn:,ent
      i


                                       ( 3) .
         Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 8 of 9



     in violation of the Eighth Amendment of the Unite                  Stdtes eonslitution.


(lt,). Tl1e actions of Defenchnts Fial es, \rnrd, Bel lmo,1 u1           Jones in tailing
      to intervene to prev~nt the wanton misuse of for2e constituted
        dellberat~ in~ifference '' to Plair1tiff's satet1 and contriouted to
      t,1e above described violation ot his Eightn Amenc •,ent Ri,;hts.


                             RELIEF REQUESTED

(15). ~herefore, Plaintiff requests that the court grar                  the followL,g

      relief:

      A. Issue a Declaratory       Judgement Stating 1hat:

          ( 1). The physical abuse of the F'lai11tiff by It "encwnt Jeremy
                 Pelzejl._ violated th<' Pl•intiff' s eights   L:il   ier the Eigllth
                Am<c11dmecnt to the United States Constituti Jr. and con-

                 stituted an assault under Alabama Law.

         (2). DefendantR Jeremy Gellmoa, Dustin Wara, J1,cmai11e Eates

                and Micheal Jones failure to take action         '.:J   curb tne
                physical abuse of Plaintift violated the ,•laintiff's
                rights to be free of ccuel and unusual pu,1ishment, as

                guaranteed by the Eight,, Amendment of tne United States
                Constitution.
       (~). Detendant Jeremy Pelze~'s actions i,1 lodgi·~ a fraudulent

             disciplinary against Plaintiff violated fi~intiff's rights
             undee t'1e Due Process Clause of L1e Fourt,a·cnth Amendment

             to the United States Constitution.




                                     ( 4) .
   Case 5:19-cv-01200-ACA-SGC Document 1 Filed 07/29/19 Page 9 of 9



(B). Issue an Injunction Ordering the Defendants ,o:
     (1). Expunge the Disciplinary Conviction, [,,,~ assault on a

            person associated with the ADOC, fro1n Plaintift's
            institutional Record.


(C). Award Compensatory Dar.iages in the following '•mounts:

     (1). ~ 10,0UO against Defen0ant Jeremy Pelz~R for tne physical
            abuse ancl injuries sustained as a resul        I   of Plai11tiff's

            assault.

     (2). $5,000 against Defendant Jeremy Pelze~ 1or the punishment,

            including deprivation of Liberty and a:i1Enity r;;sul ting
            from the deniRl of Due Process in conne~tion with the

            Plaintiff's Disciµlinary Cnarge.


(0). Award Punitive Damages in the following Ar1<."'1 ts:

     (1). SlU,000 against Defendant Jeremy Pelze~.

     (2). ~5,000 each a 6 ainst Defendants Jeremy L, llmon, Dustin
             ijard, Jermaine Rates and Micheal Joneb.

(f). And,   tne court to grant a11y ot:1er such r2li,-          as it   may

     appear l'laintiff is entitled.


                                 7    I   11 I   2019

                                 RESPECTFULL SUBMITTED,
                                                        I

                                 ~~~JQ.----
                                 TRAVIS GRIGGS    12909
                                 LIMESTONE CORRECTIONAL FACILITY
                                 28779 NICK DAVIS RD
                                 HARVEST, ALABAMA 35749


                              ( 5).
